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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

INTELLECTUAL VENTURES II LLC,                      §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §   CIVIL ACTION NO. 2:16-CV-00980-JRG
                                                   §
FEDEX CORPORATION,        FEDERAL                  §
EXPRESS CORPORATION,        FEDEX                  §
GROUND PACKAGE SYSTEM, INC.,                       §
FEDEX FREIGHT, INC., FEDEX CUSTOM                  §
CRITICAL, INC., FEDEX OFFICE AND                   §
PRINT SERVICES, INC.,       GENCO                  §
DISTRIBUTION SYSTEM, INC.,                         §
                                                   §
                Defendants.                        §

                              ORDER ON MOTIONS IN LIMINE

       Before the Court are the motions in limine filed by Plaintiff Intellectual Ventures II LLC

(“IV”) (Dkt. No. 448) and Defendants FedEx Corporation, FedEx Express Corporation, FedEx

Ground Package System, Inc., FedEx Freight, Inc., FedEx Custom Critical, Inc., FedEx Office and

Print Services, Inc., and GENCO Distribution System, Inc. (“FedEx”) (Dkt. No. 447). The Court

held a pretrial conference on April 16, 2018 and heard oral argument on said motions. This Order

summarizes and memorializes the Court’s rulings as regards such motions in limine.

                               AGREED MOTIONS IN LIMINE

       The following motions are GRANTED-BY-AGREEMENT OF THE PARTIES:

       It is ORDERED that the Parties, their witnesses, and counsel shall not raise, discuss, or

argue the following before the venire panel or the jury without prior leave of the Court:

       IV MIL No. 1: Exclude evidence and argument on undisclosed, purported costs of alleged

non-infringing alternatives. In light of the Court’s ruling on IV’s motion to strike with respect to
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Dr. Stiroh, Defendants will not present evidence or argument on the costs of non-infringing

alternatives.

        IV MIL No. 3: Exclude evidence and argument on undisclosed theories first identified in

supplemental expert reports. In view of the Court’s ruling on IV’s motion to strike the

supplemental opinions of Mr. Williams and Dr. Stiroh, Defendants will not present evidence or

argument relating to the experimental use theory for GPS. Defendants are free to present and rely

on testimony regarding the value of GPS provided that such testimony does not suggest and is not

otherwise based on any allegation that FedEx’s use of GPS is experimental. Defendants may

present evidence that Freight 2020 is allegedly behind schedule, but may not present evidence to

that effect based on facts arising after January 18, 2018.

        IV’s MIL No. 13: Exclude evidence and argument regarding the Parties pre-suit settlement

and licensing communications. Neither Party will discuss the Parties’ pre-suit communications,

with the exception of the August 30, 2016 letter from IV to FedEx.

        IV’s MIL No. 18: Preclude FedEx from referencing or alluding to the personal wealth of

IV’s principals, employees, and investors. Neither Party will refer to the personal wealth of the

other Party’s principals, employees, investors, or inventors.

        IV’s MIL No. 19: Exclude evidence and argument relating to previously asserted patents

and claims that are not being presented to the jury. Neither Party will offer evidence or argument

regarding previously asserted or non-asserted claims with the following limitation: The Parties

may refer to the ’900 Patent in the context of invalidity on the ’581 Patent only if Defendants elect

to assert that prior art reference against the ’581 Patent at trial; however, Defendants may not

mention, suggest, or argue that the ’900 Patent was previously asserted against Defendants. The

Parties may also refer to the ’900 Patent for damages-related issues provided that no Party
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mentions that the ’900 Patent was previously asserted against Defendants. This ruling does not

impact either Parties’ objections to particular exhibits, which the Court will address separately.

       IV’s MIL No. 21: Exclude evidence and arguments concerning any other lawsuits,

including rulings or accusations against IV in unrelated legal proceedings or disputes, or from

referring to IV as “litigious.” Neither Party will present evidence or argument concerning any other

lawsuit or referring to the other Party as “litigious,” although, no Party will argue that this motion

precludes a Party from presenting evidence or argument regarding settlement or license

agreements reached in other lawsuits in the context of damages. This ruling does not impact either

Parties’ objections to particular exhibits, which the Court will address separately.

       IV’s MIL No. 22: Exclude reference to any motion or order to strike, exclude, or preclude

testimony of any witness in unrelated lawsuits. Neither Party will refer to any motion or order to

strike, exclude, or preclude (e.g., Daubert challenges) testimony of any witness in other lawsuits.

       IV’s MIL No. 23: Exclude evidence or argument relating to the proper inventorship of the

patents-in-suit. Defendants will not present evidence of improper inventorship of the patents-in-

suit as a ground of invalidity.

       IV’s MIL No. 25: Preclude FedEx from discussing its charitable endeavors in Texas or

elsewhere. Neither Party will refer to its charitable endeavors in Texas or elsewhere.

       FedEx’s MIL No. 13: Preclude IV from asserting that FedEx had knowledge of any of the

Asserted Patents prior to IV’s August 30, 2016 letter. IV will not present evidence that FedEx

knew about any of the patents-in-suit prior to August 30, 2016.
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                           IV’S OPPOSED MOTIONS IN LIMINE

       With regard to the following opposed motions in limine, the Court ORDERS as follows:

       IV’s MIL No. 2: Exclude evidence and argument on purported availability and

acceptability of alleged non-infringing alternatives. In particular, IV seeks an order precluding

FedEx from presenting evidence and argument about whether any non-infringing alternatives were

available and acceptable because IV alleges that FedEx failed to provide any discovery in response

to IV’s interrogatories.

       This motion in limine is DENIED.

       IV’s MIL No. 4: Preclude FedEx from criticizing or contradicting IV’s estimate of FedEx’s

sales from the accused ’586 platforms, including IV’s damages expert’s use of FedEx’s “volume

contribution document.”

       This motion in limine is DENIED.

       IV’s MIL No. 5: Exclude non-asserted prior art not relied on as part of FedEx’s invalidity

contentions.

       This motion in limine is GRANTED. Should Defendants wish to use prior art that
       is outside of the previously elected prior art invalidity case in order to show relevant
       background information at trial, Defendants must first approach the Court and
       obtain leave.

       IV’s MIL No. 6: Preclude FedEx from designating its own employees’ deposition

testimony on whether the label buffer “java object” is an “electronic document.”

       This motion in limine is CARRIED until the Court hears Plaintiff’s motions to
       strike and exclude the testimony of Mr. Ackley at the May pretrial hearing.

       IV’s MIL No. 7: Exclude Mr. Grus’s testimony regarding the creation of the Multicode

reference.

       This motion in limine is CARRIED. This motion in limine is substantially related
       to the motions for Mr. Ackley; the Court will hear this motion in limine when it
       hears those motions at the May pretrial hearing.
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       IV’s MIL No. 8: Preclude FedEx from presenting evidence and argument suggesting that

any of the FedEx Defendants do not infringe because non-party FedEx Services allegedly

developed software for the accused instrumentalities.

       This motion in limine is GRANTED. While the Defendants will collectively be
       referred to as “FedEx,” the Court will instruct the jury as to which FedEx entities
       are and are not named Defendants. Defendants may assert that they do not infringe
       because they meet the limitations of the claims; however, the Court will not permit
       Defendants to argue that they do not infringe on the basis that the infringing actions
       are performed by a separate, unnamed or unjoined FedEx entity. In order to prevent
       confusion, to the extent that a required element is performed by an entity that is not
       a named Defendant, the Parties must first approach the Court and obtain leave prior
       to mentioning the issue to the jury.

       IV’s MIL No. 9: Preclude FedEx from presenting, referring to, or relying on untimely

disclosed source code identified for the first time in Mr. Williams’ expert report.

       This motion in limine is CARRIED until the Court hears evidentiary disputes at
       the May pretrial hearing and thus will rise or fall with those exhibit rulings.

       IV’s MIL No. 10: Preclude FedEx from presenting undisclosed non-infringement and

claim construction positions at trial, from contradicting the Court’s claim constructions, and from

interpreting the Court’s Claim Construction Order or referencing its reasoning in front of the jury.

       This motion in limine is DENIED. The Parties have the right to tell the jury what
       they believe is the plain and ordinary meaning of unconstrued terms. Beyond that,
       however, the Court’s Claim Construction Order clearly states that the Parties are
       not to discuss the analysis, logic, or any part of such opinion in front of the jury
       without leave of the Court, except as to the ultimately adopted claim constructions.

       IV’s MIL No. 11: Exclude evidence on the DADS handheld device, preclude FedEx from

presenting the SuperTracker, Enhanced SuperTracker, and DADS handheld devices at trial, and

preclude FedEx from providing any demonstration of the SenseAware portal at trial.

       This motion in limine is CARRIED-IN-PART and WITHDRAWN-IN-PART.
       The parts of this motion in limine relating to DADS, SuperTracker, and Enhanced
       SuperTracker are carried until the May pretrial hearing because they rise or fall
       with specific exhibit disputes. Plaintiff has withdrawn the portion of the motion
       relating to the SenseAware portal.
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        IV’s MIL No. 12: Preclude FedEx from comparing the SenseAware and Freight 2020 RFID

accused systems and methods to any commercial embodiments or prototypes of the asserted

patents. IV also moves to preclude FedEx from comparing any of the accused instrumentalities to

any purported prior art device, patent, or system, including FedEx’s own prior art systems and

devices.

        This motion in limine is GRANTED. The Court holds that the only proper
        comparison is between the accused products and the elements of the Asserted
        Claims.

        IV’s MIL No. 14: Preclude FedEx from relying on IV’s settlement communications with

third parties.

        This motion in limine is CARRIED until the Court hears evidentiary disputes at
        the May pretrial hearing and thus will rise or fall with those exhibit rulings.

        IV’s MIL No. 15: Preclude FedEx from relying on IV’s pre-suit negotiations with the third

parties who originally owned IV’s patents, including the Asserted Patents.

        This motion in limine is CARRIED until the Court hears evidentiary disputes at
        the May pretrial hearing and thus will rise or fall with those exhibit rulings.

        IV’s MIL No. 16: Preclude FedEx under the hearsay rules form affirmatively designating

and playing the deposition testimony of its own witnesses at trial.

        This motion in limine is DENIED. The Court expects the Parties to abide by the
        Federal Rules of Evidence and the Federal Rules of Civil Procedure.

        IV’s MIL No. 17: Exclude evidence and argument that uses pejorative terms to refer to IV,

such as “patent troll,” or refer to IV’s business model in a derogatory way, such as “not making

products or practicing the patents-in-suit.” FedEx agrees not to use pejorative terms about IV and

IV’s business model.

        This motion in limine is GRANTED. The Court ORDERS that all Parties refrain
        from using any derogatory or pejorative terms against any Party. Plaintiff is not
        permitted to denigrate Defendants by painting a David and Goliath scenario.
        Defendants are not permitted to denigrate Plaintiff by asserting that Plaintiff “buys,
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       settles, and sues,” or doesn’t produce anything or contribute to the economy.
       Defendant is permitted to establish that Plaintiff does not manufacture a product
       based on the Asserted Patents; however, once established before the jury,
       Defendants will not be permitted to continually return to the topic in an attempt to
       denigrate Plaintiff through repetition.

       IV’s MIL No. 20: Exclude evidence and argument referring or relating to post-issuance

USPTO proceedings.

       This motion in limine is GRANTED. No Party will be permitted to reference any
       post-issuance proceedings without leave of the Court. The Court declines to impose
       a limitation on the ordinary and usual use of impeaching information, including
       testimony from post-issuance proceedings; however, the Parties should not identify
       the impeaching information as coming from a post-issuance proceeding. As with
       all limine orders, if a Party, by failing to comply with this Order, opens the door to
       such evidence, the Court will determine if the non-offending Party may go into such
       matters.

       IV’s MIL No. 24: Preclude FedEx from commenting on the absence of any of the Asserted

Patents’ non-party inventors throughout the litigation, including at trial.

       This motion in limine is GRANTED. No Party will be permitted to argue or
       communicate to the jury in any way about the absence of any potential witness
       without leave of the Court. The Court has broadened this order, as stated,
       intentionally.

                         FEDEX’S OPPOSED MOTIONS IN LIMINE

       With regard to the following opposed motions in limine, the Court ORDERS as follows:

       FedEx’s MIL No. 1: Preclude IV from referencing any noninstituted Inter Partes Review

proceedings.

       This motion in limine is GRANTED. No Party will be permitted to reference any
       post-issuance proceedings without leave of the Court. The Court declines to impose
       a limitation on the ordinary and usual use of impeaching information, including
       testimony from post-issuance proceedings; however, the Parties should not identify
       the impeaching information as coming from a post-issuance proceeding.
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        FedEx’s MIL No. 2: Preclude IV from referencing any final written decision from any IPR

proceeding.

        This motion in limine is GRANTED. No Party will be permitted to reference any
        post-issuance proceedings without leave of the Court. The Court declines to impose
        a limitation on the ordinary and usual use of impeaching information, including
        testimony from post-issuance proceedings; however, the Parties should not identify
        the impeaching information as coming from a post-issuance proceeding.

        FedEx’s MIL No. 3: Preclude IV from presenting arguments that the patentee overcame a

prior art reference listed on the face of an Asserted Patent.

        This motion in limine is DENIED. Defendants have shown no basis for excluding
        the cited references that are on the face of the Asserted Patents, copies of which
        will be provided to the jury. However, for clarity and consistent with IV’s MIL No.
        20 and FedEx’s MIL Nos. 1 and 2, a reference that is on the front of the patent does
        not open the door to discussing post-issuance proceedings.

        FedEx’s MIL No. 4: Preclude IV from presenting infringement theories that are not

disclosed in its expert reports.

        This motion in limine is WITHDRAWN by mutual consent.

        FedEx’s MIL No. 5: Preclude IV from referencing or eliciting testimony or presenting any

argument alleging infringement by any unnamed party.

        This motion in limine is WITHDRAWN by mutual consent.

        FedEx’s MIL No. 6: Exclude evidence and argument about the conception, reduction to

practice, or development of the alleged inventions embodied by the Accused Patents to the extent

such information is not specified in IV’s responses to FedEx’s Interrogatory No. 16.

        This motion in limine is DENIED. IV is permitted to present witness testimony to
        show the background of invention and how the invention originated. However, such
        testimony is limited to a high-level background overview. The Court will not permit
        such a witness to testify as an undisclosed expert.
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       FedEx’s MIL No. 7: Preclude IV from identifying licenses, licensees’ names, royalties, or

revenue from its portfolio.

       This motion in limine is CARRIED until the Court hears evidentiary disputes at
       the May pretrial hearing and thus will rise or fall with those exhibit rulings.

       FedEx’s MIL No. 8: Exclude evidence and argument of any discovery dispute between the

Parties, including any alleged discovery deficiencies, the subject matter of any such disputes,

correspondence, and associated motions to compel.

       This motion in limine is GRANTED. No Party will be permitted to make any
       references to discovery disputes, the adequacy of discovery, or the Court’s pretrial
       motions and orders without leave of the Court. IV will be permitted to show that
       FedEx willfully infringed the ’356 and ’715 Patents through the Freight 2020
       project and implementation of RFID array systems after the filing of the complaint;
       however, neither Party should refer to the underlying discovery disputes that were
       before the Court.

       FedEx’s MIL No. 9: Exclude evidence and argument about any pretrial motions or orders.

       This motion in limine is GRANTED. No Party will be permitted to make any
       references to discovery disputes, the adequacy of discovery, or the Court’s pretrial
       motions and orders without leave of the Court. IV will be permitted to show that
       FedEx willfully infringed the ’356 and ’715 Patents through the Freight 2020
       project and implementation of RFID array systems after the filing of the complaint;
       however, neither Party should refer to the underlying discovery disputes that were
       before the Court.

       FedEx’s MIL No. 10: Preclude IV from asserting infringement theories against

“Defendants,” “FedEx,” or any other collective designation grouping two or more Defendants

together.

       This motion in limine is DENIED. Consistent with IV’s MIL No. 8, while the
       Defendants will collectively be referred to as “FedEx,” the Court will instruct the
       jury as to which specific FedEx entities are and are not named Defendants.
       Defendants may assert that they do not infringe because they do not meet the
       limitations of the claims; however, the Court will not permit Defendants to argue
       that they do not infringe because the infringing actions are performed by a separate,
       unnamed FedEx entity. In order to prevent confusion, to the extent that a required
       element is performed by an entity that is not a named Defendant, the Parties must
       first approach the Court and obtain leave prior to mentioning any such issue to the
       jury.
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       FedEx’s MIL No. 11: Preclude IV from characterizing the actions of the FedEx Defendants

as “stealing,” “copying,” “pirating,” or any other charged words suggesting an improper taking

from IV.

       This motion in limine is GRANTED. The Court ORDERS that all Parties refrain
       from using any derogatory or pejorative terms against the other Party. Plaintiff is
       not permitted to denigrate Defendants by painting a David and Goliath scenario.
       Defendants are not permitted to denigrate Plaintiff by asserting that Plaintiff “buys,
       settles, and sues,” or doesn’t produce anything or contribute to the economy.
       Defendant is permitted to establish that Plaintiff does not manufacture a product
       based on the Asserted Patents; however, once established before the jury,
       Defendants will not be permitted to continually return to the topic in an attempt to
       denigrate Plaintiff through repetition.

       FedEx’s MIL No. 12: Preclude IV from relying on Defendants’ entire “source code

computer” as an exhibit.

       This motion in limine is CARRIED until the Court hears evidentiary disputes at
       the May pretrial hearing and thus will rise or fall with those exhibit rulings.

       FedEx’s MIL No. 14: Preclude IV from referencing or introducing any argument, evidence,

or testimony related to any other litigations involving the FedEx Defendants, including the

amounts for which the FedEx Defendants may have settled other litigations, that are not expressly

addressed in a Party’s expert report.

       This motion in limine is GRANTED. However, IV will be permitted to address any
       license that is addressed in IV’s expert reports, whether or not it was derived from
       litigation.

       So Ordered this
       Apr 26, 2018
